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                      EXHIBIT B
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                               United States Government Accountability Office

GAO                           Report to Congressional Committees




October 2004
                              MEDICARE
                              Appropriate
                              Dispensing Fee
                              Needed for Suppliers
                              of Inhalation Therapy
                              Drugs




GAO-05-72
                              a
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                                                     October 2004


                                                     MEDICARE
              Accountability Integrity Reliability



Highlights
Highlights of GAO-05-72, a report to
                                                     Appropriate Dispensing Fee Needed for
                                                     Suppliers of Inhalation Therapy Drugs
congressional committees




Why GAO Did This Study                               What GAO Found
The Medicare Prescription Drug,                      Using cost data obtained from 12 inhalation therapy suppliers that
Improvement, and Modernization                       accounted for more than 42 percent of 2003 Medicare inhalation therapy
Act of 2003 (MMA) revised the                        payments, GAO found that 2003 acquisition costs for the three inhalation
payment formula for most of the                      therapy drugs representing approximately 98 percent of Medicare inhalation
outpatient drugs, including
                                                     therapy drug expenditures varied widely. For example, per unit acquisition
inhalation therapy drugs, covered
under Medicare part B. Under the                     costs for ipratropium bromide, the inhalation therapy drug with the highest
revised formula, effective 2005,                     Medicare expenditures, ranged from $0.23 to $0.64. Although costs varied,
Medicare’s payment is intended to                    they were not always lower for the 4 largest suppliers. The lowest
be closer to acquisition costs. The                  acquisition cost for ipratropium bromide was obtained by one of the small
Centers for Medicare & Medicaid                      suppliers, and the highest by one of the large suppliers. GAO estimated that
Services (CMS), the agency that                      the 2003 Medicare payment rate per patient, per month was between $119 to
administers Medicare, also pays                      $129 higher than suppliers’ acquisition costs for a typical monthly supply of
suppliers of inhalation therapy                      albuterol sulfate and between $162 to $187 higher for a typical monthly
drugs a $5 per patient per month                     supply of ipratropium bromide.
dispensing fee. Suppliers have
raised concerns that once drug
                                                     GAO estimated 2003 per patient monthly dispensing costs of $7 to $204 for
payments are closer to acquisition
costs, they will no longer be able to                the 12 inhalation therapy suppliers, which included patient care costs, such
use overpayments on drugs to                         as pharmacy and shipping, and administrative and overhead costs, such as
subsidize dispensing costs, which                    billing. Large suppliers did not necessarily have lower dispensing costs.
they state are higher than $5. As                    Because Medicare payments for drugs have been much higher than
directed by MMA, GAO                                 suppliers’ acquisition costs, suppliers indicated they were able to provide
(1) examined suppliers’ acquisition                  services that benefited both beneficiaries and their physicians, a fact that
costs of inhalation therapy drugs                    raises questions about the services necessary to dispense inhalation therapy
and (2) identified costs to suppliers                drugs. For example, several suppliers reported that they incur substantial
of dispensing inhalation therapy                     costs to ship drugs overnight to beneficiaries; most did so on an as-needed
drugs to Medicare beneficiaries.                     basis, although one did so routinely. All suppliers in GAO’s sample made
                                                     phone calls to beneficiaries to ask them if they needed medication refills, to
What GAO Recommends
                                                     coordinate a refill delivery, and to check on the beneficiaries’ compliance
GAO recommends that the                              with their prescribed drug regimens. Most suppliers made these calls on a
Administrator of CMS evaluate the                    monthly basis, but one reported that it did so twice a month.
costs of dispensing inhalation
therapy drugs and modify the
dispensing fee, if warranted, to
ensure that the fee appropriately
accounts for the costs necessary to
dispense the drugs. CMS agreed
with GAO’s recommendation.




www.gao.gov/cgi-bin/getrpt?GAO-05-72.

To view the full product, including the scope
and methodology, click on the link above.
For more information, contact Laura A.
Dummit at (202) 512-7119.

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                              Abbreviations

                              AAHomecare     American Association for Homecare
                              ASP            average sales price
                              AWP            average wholesale price
                              CMS            Centers for Medicare & Medicaid Services
                              DME            durable medical equipment
                              MMA            Medicare Prescription Drug, Improvement, and
                                             Modernization Act of 2003
                              VA             Department of Veterans Affairs


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A
United States Government Accountability Office
Washington, D.C. 20548



                                    October 12, 2004                                                                               Leter




                                    Congressional Committees

                                    In response to substantial Medicare overpayments for outpatient drugs,1
                                    Congress enacted a revised payment formula in the Medicare Prescription
                                    Drug, Improvement, and Modernization Act of 2003 (MMA) beginning
                                    January 1, 2005.2 For the limited number of drugs covered under part B of
                                    the Medicare program,3 payments had been substantially higher than
                                    acquisition costs generally available to the suppliers of the drugs. Under
                                    the revised payment formula, Medicare’s payment is intended to be much
                                    closer to acquisition costs.

                                    Medicare-covered outpatient drugs include those that are an integral and
                                    necessary part of covered durable medical equipment (DME), such as
                                    those delivered through nebulizers for inhalation therapy.4 The Centers for
                                    Medicare & Medicaid Services (CMS), the agency that administers
                                    Medicare, makes three separate payments for inhalation therapy.
                                    Inhalation therapy drug suppliers, which are required to be licensed
                                    pharmacies,5 receive a payment for the drug as well as a per patient
                                    monthly dispensing fee of $5 for costs such as pharmacy, shipping, and
                                    billing. In addition, Medicare pays for the nebulizer and the supplies
                                    associated with it. Suppliers have stated that payments for inhalation
                                    therapy drugs, which have been higher than the prices suppliers paid to
                                    purchase them, have helped subsidize monthly dispensing costs. They
                                    have raised concerns that once drug payments are closer to acquisition
                                    costs, they will no longer be able to cover their current dispensing costs.




                                    1
                                    H.R. Conf. Rep. No. 108-391, at 582-84 (2003), reprinted in 2003 U.S.C.C.A.N. 1808, 1950-51.
                                    2
                                    Pub. L. No. 108-173, § 303, 117 Stat. 2066, 2233-55 (2003).
                                    3
                                     Medicare part B provides coverage for certain physician, outpatient hospital, laboratory,
                                    and other services to beneficiaries who pay monthly premiums.
                                    4
                                    A nebulizer is a device driven by a compressed air machine. It allows the patient to take
                                    medication in the form of a mist (wet aerosol) more directly into the lungs.
                                    5
                                    42 C.F.R. § 424.57(b)(4) (2003).




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                  MMA directed us to study the adequacy of Medicare’s payment for
                  inhalation therapy.6 Specifically, we (1) examined suppliers’ acquisition
                  costs of inhalation therapy drugs and (2) identified costs to suppliers of
                  dispensing inhalation therapy drugs to Medicare beneficiaries.

                  To address these issues, we analyzed 2003 cost and utilization data
                  collected from 12 inhalation therapy suppliers. We assessed the reliability
                  of the supplier-reported data by comparing certain data elements for
                  consistency with information from Securities and Exchange Commission
                  annual reports for publicly traded companies, data from a similar 2003
                  industry study, and the 2003 Medicare DME claims, the latest claims data
                  available. We found these data suitable for our purposes. Our sample of
                  12 suppliers accounted for more than 42 percent of Medicare inhalation
                  therapy payments in 2003. From the supplier-reported cost data, we
                  calculated per unit acquisition costs (net of rebates and discounts) for the
                  three inhalation therapy drugs most frequently billed to Medicare,
                  representing approximately 98 percent of Medicare inhalation therapy drug
                  expenditures in 2003. We also calculated per patient monthly dispensing
                  costs, which include patient care costs, such as pharmacy and shipping,
                  and administrative and overhead costs, such as billing. We reported the
                  range of these costs across all 12 suppliers and separately for the 4 largest
                  suppliers in our sample, each of which had payments accounting for at
                  least 3 percent of all Medicare inhalation therapy payments in 2003, and all
                  other suppliers in our sample, which we refer to as small suppliers.

                  We interviewed officials from CMS; three DME regional carriers, the
                  contractors responsible for processing and paying DME and inhalation
                  therapy drug claims; and the Department of Veterans Affairs (VA) to gather
                  comparative information on how VA pays for inhalation therapy. We also
                  interviewed officials from an industry association representing suppliers;
                  two patient advocacy organizations; two associations of health care
                  professionals who care for inhalation therapy patients; and two
                  manufacturers and a wholesaler of inhalation therapy drugs. These
                  interviewees helped us identify 20 inhalation therapy suppliers
                  representing national, regional, and local homecare and mail-order
                  pharmacies of various sizes and geographic locations. Appendix I contains


                  6
                   Pub. L. No. 108-173, § 305(b), 117 Stat. 2066, 2255-56 (2003). MMA specified that this report
                  was to be issued no later than 1 year after the date of enactment, December 8, 2003. This
                  report may inform CMS as it is considering Medicare payments for inhalation therapy drug
                  suppliers.




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                         a more complete description of our methodology. We conducted our work
                         from May through October 2004 in accordance with generally accepted
                         government auditing standards.



Background               Inhalation therapy consists of drugs, including bronchodialators such as
                         albuterol sulfate, taken through a nebulizer to alleviate severe respiratory
                         problems. In the Medicare population, this therapy is primarily used to
                         treat chronic obstructive pulmonary disease, which includes diseases such
                         as asthma, emphysema, and chronic bronchitis. Once beneficiaries begin
                         receiving inhalation therapy, they are likely to receive it for the remainder
                         of their lives.

                         Inhalation therapy drugs are covered by Medicare because the nebulizer,
                         which is covered as DME, is only useful in conjunction with the drugs.
                         Under the DME benefit, Medicare payment for nebulizers covers the cost to
                         suppliers of purchasing the equipment, delivering it to the beneficiary, and
                         ensuring that the beneficiary knows how to use and care for the equipment.
                         Medicare regulations specify that DME suppliers must document that they
                         or another qualified party provided the beneficiary with the necessary
                         information and instructions on using the equipment, but suppliers do not
                         have to provide that education themselves.7 DME suppliers receive no
                         additional payment if they provide the patient education; however,
                         physicians can bill Medicare if they or their staff provide the patient
                         training.

                         MMA changed Medicare’s payment method beginning in 2005 for most
                         drugs covered under part B, including inhalation therapy drugs, from one
                         based on the average wholesale price (AWP)8 to one based primarily on the
                         average sales price (ASP)9 plus 6 percent. This new payment method is
                         expected to result in payment rates that are closer to drug acquisition



                         7
                          42 C.F.R. § 424.57(c)(12) (2003).
                         8
                         Often described as a “sticker price” or “list price,” AWP is the average price that a
                         manufacturer suggests wholesalers charge pharmacies.
                         9
                          ASP is defined for each drug as a manufacturer’s sales to all purchasers in a given quarter,
                         net of discounts and rebates and excluding certain government and other purchasers,
                         divided by the total number of units of the drug sold by the manufacturer in that quarter.
                         Pub. L. No. 108-173, § 303(c), 117 Stat. 2066, 2240-41 (2003).




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                  costs.10 The change was in response to substantial Medicare overpayments
                  for outpatient drugs. For example, in a 2001 report, we found that the
                  widely available acquisition prices for the two most common inhalation
                  therapy drugs were 15 and 22 percent of AWP,11 while payment was 95
                  percent of AWP.12

                  Although most Medicare-covered outpatient drugs are provided in a
                  physician’s office, inhalation therapy drugs are different. A physician
                  prescribes the drugs, but beneficiaries receive the drugs from inhalation
                  therapy drug suppliers, such as homecare companies and mail-order and
                  retail pharmacies. The four largest suppliers are for-profit homecare
                  companies that accounted for almost 41 percent of Medicare inhalation
                  therapy payments in 2003. In addition to supplying the drugs, most
                  companies also provide beneficiaries with a nebulizer and other related
                  supplies.

                  Under the AWP-based payment system, suppliers received drug payments
                  that were substantially higher than their acquisition costs. Suppliers
                  indicated that they used these excess payments to offer services that
                  benefited both beneficiaries and their physicians, such as shipping the
                  drugs overnight, making monthly phone calls to remind beneficiaries to
                  refill their prescriptions, and operating 24-hour hotlines to respond to
                  beneficiary questions.13 Several inhalation therapy suppliers and two
                  physician organizations we spoke with indicated that suppliers also used
                  excess payments to market their services to physicians to gain market
                  share.

                  Currently, Medicare pays a dispensing fee of $5 monthly per patient for
                  inhalation therapy drugs. In August 2004, CMS published a proposed rule
                  in which the agency noted that it believed a dispensing fee is appropriate to
                  cover a supplier’s costs in delivering inhalation therapy drugs to patients,
                  although it did not propose a specific dollar amount for 2005. CMS
                  solicited comments on the services and costs associated with providing

                  10
                       H.R. Conf. Rep. No. 108-391, at 582-84 (2003), reprinted in 2003 U.S.C.C.A.N. 1808, 1950-51.
                  11
                   GAO, Medicare: Payments for Covered Outpatient Drugs Exceed Providers’ Cost, GAO-
                  01-1118 (Washington, D.C.: Sept. 21, 2001).
                  12
                   In implementing MMA, CMS set payments for inhalation therapy drugs furnished in 2004 at
                  80 to 85 percent of AWP.
                  13
                       These services are not required by Medicare.




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                            inhalation therapy drugs and an appropriate amount for such a dispensing
                            fee.14 In addition, CMS proposed to allow suppliers to dispense a 90-day
                            supply of drugs to Medicare beneficiaries, an increase from the current
                            limit of a 30-day supply.15 A final rule is scheduled for publication in
                            November 2004.



Results in Brief            The 2003 acquisition costs for the three inhalation therapy drugs most
                            frequently billed to Medicare varied widely. For example, per unit
                            acquisition costs for ipratropium bromide, the inhalation therapy drug with
                            the highest Medicare expenditures, ranged from $0.23 to $0.64. In addition,
                            acquisition costs were not always lower for the largest suppliers. The
                            lowest acquisition cost for ipratropium bromide was obtained by one of the
                            small suppliers, and the highest acquisition cost was obtained by one of the
                            large suppliers. For the two drugs for which we could estimate an average
                            monthly supply cost, the 2003 acquisition costs were considerably lower
                            than the 2003 Medicare payment rates, resulting in substantial excess
                            payments.

                            We estimated per patient monthly dispensing costs ranging from $7 to $204
                            for the suppliers in our sample. In addition, large suppliers did not
                            necessarily have lower dispensing costs. Some of the variation may be due
                            to the range of services offered by suppliers, which raises questions about
                            the services necessary to dispense inhalation therapy drugs. For example,
                            several suppliers reported that they incur substantial costs to ship drugs
                            overnight to beneficiaries; most did so on an as-needed basis, although one
                            did so routinely. Because Medicare payments for drugs have been much
                            higher than suppliers’ acquisition costs, suppliers indicated they were able
                            to provide services that benefited both beneficiaries and their physicians.
                            We found that dispensing a 90-day, rather than a 30-day, supply of drugs
                            would reduce overall dispensing costs; the cost of dispensing a 90-day
                            supply was less than twice the cost of a 30-day supply.

                            We recommend that the Administrator of CMS evaluate the costs of
                            dispensing inhalation therapy drugs and modify the dispensing fee, if
                            warranted, to ensure that the fee appropriately accounts for the costs
                            necessary to dispense the drugs. In commenting on a draft of this report,


                            14
                                 69 Fed. Reg. 47,488, 47,549 (2004).
                            15
                                 69 Fed. Reg. 47,488, 47,549 (2004).




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                            CMS agreed with our recommendation. An industry representative
                            commenting on a draft of this report also agreed with our recommendation.



Suppliers’ Acquisition      We found that 2003 per unit acquisition costs for the three inhalation
                            therapy drugs most frequently billed to Medicare varied widely among the
Costs Of Inhalation         12 suppliers in our sample (see table 1). For ipratropium bromide,
Therapy Drugs Varied        excluding the 3 suppliers with the highest costs and the 3 with the lowest
                            costs, the remaining 6 suppliers in our sample had acquisition costs that
Widely                      ranged from $0.26 to $0.44. For albuterol sulfate, excluding the 3 suppliers
                            with the highest costs and the 3 with the lowest costs, the remaining
                            6 suppliers had costs that ranged from $0.05 to $0.06. Although costs
                            varied, they were not always lower for large suppliers. For example, the
                            lowest acquisition cost for ipratropium bromide was obtained by one of the
                            small suppliers, and the highest acquisition cost was obtained by one of the
                            large suppliers. Because the three primary drugs used in inhalation therapy
                            are available as generic drugs, purchasers may choose from more than one
                            source to buy these drugs, potentially leading to greater competition and
                            lower prices.




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                   Table 1: Supplier Per Unit Acquisition Costs for Selected Inhalation Therapy Drugs
                   by Size of Supplier, 2003

                   Suppliers                                                            Range of per unit average acquisition cost
                   Ipratropium bromide
                   All (n=12)                                                                                        $0.23 - $0.64
                       Large (n=4)                                                                                      0.26 - 0.64
                    Small (n=8)                                                                                         0.23 - 0.46
                   Albuterol sulfatea
                   All (n=12)                                                                                        $0.04 - $0.08
                       Large (n=4)                                                                                      0.04 - 0.06
                    Small (n=8)                                                                                         0.05 - 0.08
                   Budesonideb
                   All (n=12)                                                                                        $0.04 - $4.35
                       Large (n=4)                                                                                      0.04 - 3.69
                       Small (n=8)                                                                                      0.24 - 4.35
                   Source: GAO analysis of data from 12 inhalation therapy suppliers.

                   Note: A large supplier is one whose payments were at least 3 percent of all Medicare inhalation
                   therapy payments in 2003.
                   a
                    These costs are for generic albuterol sulfate and do not include the costs of Xopenex®, a brand-name
                   form of albuterol sulfate.
                   b
                    Budesonide is also available in a powder form, which is much less costly than the solution form of the
                   drug. The lower cost suppliers could have purchased the powder form of the drug and compounded it
                   into the solution themselves.


                   Industry representatives we spoke with stated that, typically, inhalation
                   therapy drug suppliers purchase drugs from wholesalers or distributors.
                   We found that three of the four large suppliers in our sample purchased
                   inhalation therapy drugs directly from manufacturers. For these
                   companies, the large volume of drugs that they purchase may have allowed
                   them to receive competitive prices negotiated directly with manufacturers,
                   avoiding any price markups from wholesalers. The other large supplier
                   purchased drugs from a mail-order pharmacy that is also an inhalation
                   therapy drug supplier. Most of the small suppliers in our sample stated that
                   they purchased their drugs from a wholesaler or distributor, and a few
                   indicated they used group purchasing organizations to negotiate prices
                   with manufacturers. Two small inhalation therapy suppliers stated they
                   purchased their drugs from both manufacturers and distributors, one
                   noting that they use different sources for different drugs.




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                           Under the previous AWP-based payment system, there was a considerable
                           difference between the prices widely available to purchasers and
                           Medicare’s payment for the drugs. Using the lowest and highest per unit
                           acquisition costs reported by our suppliers for 2003, we estimated a
                           difference of $119 to $129 per patient, per month between what suppliers
                           received in payment from Medicare at a rate of 95 percent of AWP and the
                           acquisition costs they incurred for a typical monthly supply of albuterol
                           sulfate. For ipratropium bromide, we estimated that the difference
                           between the 2003 payment rate and lowest and highest acquisition costs
                           was $162 to $187 per patient per month for a typical monthly supply.
                           Because patients receiving inhalation therapy may receive more than one
                           inhalation therapy drug, the excess payments to suppliers for many
                           patients would have been larger.



Large Variation In         Among the suppliers in our sample, there was wide variation in the monthly
                           costs associated with dispensing inhalation therapy drugs. We also found
Suppliers’ Dispensing      that larger suppliers did not necessarily have lower dispensing costs.
Costs Raises Questions     Because Medicare payments for drugs greatly exceeded suppliers’
                           acquisition costs, suppliers indicated they were able to provide services
About Services             that benefited both beneficiaries and their physicians. For example, while
Necessary To Dispense      most suppliers stated that they shipped drugs overnight to beneficiaries on
Inhalation Therapy         an as-needed basis, one supplier reported doing so routinely. We found that
                           providing a 90-day supply of drugs could reduce suppliers’ costs; the cost
Drugs                      for dispensing a 90-day supply was less than twice the cost for dispensing a
                           30-day supply.

                           Total per patient monthly dispensing costs varied widely among the
                           suppliers in our sample. Using 2003 data obtained from 12 inhalation
                           therapy suppliers, we estimated that the cost of dispensing inhalation
                           therapy drugs ranged from $7 to $204 per patient per month. Excluding the
                           3 suppliers with the highest and the 3 with the lowest dispensing costs, the
                           remaining 6 suppliers in our sample had estimated dispensing costs that
                           ranged from $53 to $116 per patient per month. Large inhalation therapy
                           drug suppliers did not necessarily realize economies for inhalation therapy
                           drug dispensing costs; estimated per patient monthly costs ranged from $53
                           to $138 for large suppliers and from $7 to $204 for small suppliers.

                           The estimated per patient monthly costs for each individual dispensing cost
                           category varied widely across suppliers, with some suppliers incurring
                           much higher costs than others (see table 2). Examples of substantial costs
                           that suppliers incurred in dispensing inhalation therapy drugs include



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                   patient care services, such as pharmacy, packaging and shipping, personal
                   delivery, and medication refill and compliance phone calls, as well as
                   billing and collection costs and bad debt.



                   Table 2: Estimated Per Patient Monthly Inhalation Therapy Drug Dispensing Costs,
                   2003

                   Cost Category                                                  Range of per patient monthly costs
                   Patient care costs
                   Pharmacy                                                                            $0.10 - $123.73
                   Packaging and shipping                                                                 0.32 - 32.61
                   Delivery                                                                               0.00 - 17.39
                   Medication refill and compliance phone calls                                           0.12 - 17.64
                   Other patient carea                                                                    0.00 - 24.04
                   Administrative and overhead costs
                   Billing/collection                                                                    $2.00 - $9.68
                   Rent/mortgage/lease/or other payment for space                                           0.26 - 7.19
                   Insurance                                                                                0.00 - 4.10
                   Depreciation                                                                             0.28 - 3.88
                   Utilities                                                                                0.13 - 3.67
                   Storage                                                                                  0.00 - 2.96
                   Licensing                                                                                0.06 - 2.39
                   Training                                                                                 0.00 - 0.80
                   Taxes                                                                                  0.00 - 30.92
                   Bad debt                                                                                 0.00 - 9.28
                   Other administrative and overheadb                                                     0.21 - 29.84
                   Source: GAO analysis of data from 12 suppliers.
                   a
                    Other patient care costs as reported by the suppliers in our sample included customer service
                   representatives not included in another cost category and purchasing personnel.
                   b
                    Other administrative and overhead costs as reported by the suppliers in our sample included costs
                   such as office supplies and equipment, including computers; interest expenses; and building and
                   equipment maintenance.


                   The wide range of costs associated with dispensing inhalation therapy
                   drugs is due in part to the variation in services offered by suppliers.
                   Because of the difference between the acquisition prices of the drugs and
                   Medicare’s payment for them, suppliers indicated that they were able to
                   incur the costs associated with providing services that benefited both
                   beneficiaries and their physicians. For example, 10 of 12 suppliers in our
                   sample reported that they compounded at least some prescriptions,16 for



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                   which they may have incurred additional costs, including maintenance of a
                   sterile compounding room and increased pharmacist labor. However, the 2
                   suppliers in our sample that did not compound drugs did not have the
                   lowest pharmacy costs among all suppliers. All suppliers in our sample
                   made phone calls to beneficiaries to ask them if they needed medication
                   refills, to coordinate a refill delivery, and to check on the beneficiaries’
                   compliance with their prescribed drug regimens. Most suppliers made
                   these calls on a monthly basis, but one reported that it did so twice a
                   month. Several suppliers reported that they incurred substantial costs to
                   ship drugs overnight to beneficiaries; most did so on an as-needed basis,
                   although one supplier did so routinely. In addition, several suppliers
                   maintained a 24-hour on-call service for patients to speak to a trained
                   clinician or technician with questions or problems. Inhalation therapy
                   suppliers we spoke with reported that one of their largest costs was the
                   cost of respiratory therapists, who often provide initial patient education
                   and are available as a clinical resource for medication refill and compliance
                   phone calls. Respiratory therapist costs associated with teaching patients
                   about the use and care of a nebulizer are covered as a patient education
                   cost under Medicare’s payment for the equipment. Therefore, in our
                   analysis we excluded respiratory therapist costs for patient education on
                   the use of the nebulizer, but included respiratory therapist costs for
                   medication refill and compliance phone calls.

                   CMS has proposed to allow pharmacy suppliers to dispense Medicare
                   beneficiaries a 90-day, rather than a 30-day, supply of inhalation therapy
                   drugs.17 We determined that the cost to dispense a 90-day supply of drugs is
                   less than twice the cost to dispense a 30-day supply of drugs (see table 3).18
                   This is because certain costs, such as pharmacy, shipping, and billing, are
                   incurred only when the drugs are dispensed; therefore, less frequent
                   dispensing would lower overall costs.19 For example, suppliers would bill


                   16
                    Drug compounding is the process of mixing, combining, or altering ingredients to create a
                   customized medication for an individual patient.
                   17
                        69 Fed. Reg. 47,488, 47,549 (2004).
                   18
                    To calculate per patient dispensing costs for a 90-day supply, we included a one-time cost
                   for pharmacy, packaging and shipping, delivery, medication compliance and refill phone
                   calls, other patient care, and billing and collection costs. We tripled each suppliers’ reported
                   monthly costs for all other administrative and overhead costs.
                   19
                     In contrast, administrative and overhead costs generally are not dependent on the
                   frequency with which the drugs are dispensed.




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                           Medicare only once for a 90-day supply of drugs, whereas they would have
                           to bill Medicare three times over that same period if they were dispensing a
                           30-day supply to beneficiaries. Allowing for a 90-day supply of drugs could
                           reduce both Medicare’s and suppliers’ costs because suppliers could
                           dispense, ship, and bill for drugs less frequently and Medicare would
                           process fewer claims.



                           Table 3: Estimated Inhalation Therapy Drug Dispensing Costs, Per 30-Day and 90-
                           Day Supply, 2003

                           Duration of Supply                                                                    Range of costs
                           Per patient 30-day costs with 30-day supply                                            $6.96 - $203.75
                                                                                 a
                           Per patient 90-day costs with 90-day supply                                             12.61 - 267.91
                           Source: GAO analysis of data from 12 suppliers.
                           a
                            To calculate per patient dispensing costs for a 90-day supply, we included a one-time cost for
                           pharmacy, packaging and shipping, delivery, medication compliance and refill phone calls, other
                           patient care, and billing and collection costs. We tripled each suppliers’ reported monthly costs for all
                           other administrative and overhead costs.




Conclusions                The inhalation therapy suppliers in our sample exhibited a wide range of
                           drug acquisition costs. The suppliers’ costs of dispensing inhalation
                           therapy drugs were quite variable as well. Higher dispensing costs incurred
                           by some suppliers were covered by the excess payments for these drugs
                           under the AWP-based payment system. Our analysis gives a range of the
                           costs suppliers were incurring for dispensing inhalation therapy drugs, a
                           starting point for determining a dispensing fee amount. The appropriate
                           amount of a Medicare dispensing fee must take into account how excess
                           payments for drugs affected dispensing costs. Some costs incurred by
                           suppliers are necessary to dispense inhalation therapy drugs to Medicare
                           beneficiaries, for example, maintaining a licensed pharmacy and billing
                           Medicare. These necessary costs may no longer be covered when Medicare
                           drug payments are closer to acquisition costs with the implementation of
                           the ASP-based payment system. Other costs suppliers incurred may not be
                           necessary to dispense the drugs.




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Recommendation for         We recommend that the Administrator of CMS evaluate the costs of
                           dispensing inhalation therapy drugs and modify the dispensing fee, if
Executive Action           warranted, to ensure that the fee appropriately accounts for the costs
                           necessary to dispense the drugs.



Agency and External        In commenting on a draft of this report, CMS agreed with our
                           recommendation. CMS noted the variation we found in inhalation therapy
Reviewer Comments          suppliers’ costs of dispensing these drugs to Medicare beneficiaries and
                           stated it would carefully consider our analysis as it determines an
                           appropriate dispensing fee for 2005. CMS stated that it would work with
                           those concerned with inhalation therapy to understand the variability in
                           dispensing costs. The agency also acknowledged the variation in the
                           acquisition costs of inhalation therapy drugs. CMS noted our finding that
                           acquisition costs were not necessarily related to the size of the supplier and
                           stated it intends to further explore the factors influencing drug acquisition
                           costs. CMS’s written comments appear in appendix II.

                           We received oral comments on a draft of this report from the American
                           Association for Homecare (AAHomecare), which represents homecare
                           companies, including those that provide inhalation therapy drugs. The
                           association agreed with our recommendation. AAHomecare noted that
                           respiratory therapists provide services that are associated with dispensing
                           inhalation therapy drugs, as well as with the use of nebulizers, and,
                           therefore, the exclusion of all costs associated with respiratory therapists
                           from our analysis was not appropriate. We have clarified the discussion of
                           our methodology to indicate that we excluded respiratory therapist costs
                           related to patient education on the use of the nebulizer but we included
                           respiratory therapist costs related to the medication refill and compliance
                           phone calls. AAHomecare also made technical comments, which we
                           incorporated where appropriate.


                           We are sending a copy of this report to the Administrator of CMS and
                           appropriate congressional committees. We will also make copies available
                           to others on request. The report is available at no charge on GAO’s Web site
                           at http://www.gao.gov.




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                   If you or your staffs have any questions, please call me at (202) 512-7119 or
                   Nancy A. Edwards at (202) 512-3340. Other major contributors to this
                   report include Beth Cameron Feldpush, Joanna L. Hiatt, and Andrea E.
                   Richardson.




                   Laura A. Dummit
                   Director, Health Care—Medicare Payment Issues




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Appendix I

Scope and Methodology                                                                                            AA
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                                In conducting this study, we analyzed data from 12 inhalation therapy
                                suppliers. We interviewed officials from the Centers for Medicare &
                                Medicaid Services (CMS), three durable medical equipment (DME)
                                regional carriers, and the Department of Veterans Affairs (VA) to gather
                                comparative information on how VA pays for inhalation therapy. We also
                                interviewed representatives from the American Association for Respiratory
                                Care; American Association for Homecare; American College of Chest
                                Physicians; Emphysema Foundation for Our Right to Survive; and National
                                Association for Medical Direction in Respiratory Care; and two
                                manufacturers and a wholesaler of inhalation therapy drugs. These
                                interviewees helped us identify 20 inhalation therapy suppliers that we
                                interviewed. We conducted a site visit at an inhalation therapy pharmacy
                                and DME supply branch location, and interviewed officials at these
                                facilities.

                                To obtain information on suppliers’ costs of purchasing and providing
                                inhalation therapy drugs to Medicare beneficiaries, we asked the
                                20 inhalation therapy suppliers we interviewed to report cost data to us on
                                worksheets we provided. We analyzed 2003 cost information from 12 of
                                these suppliers. We assessed the reliability of the cost data in several ways.
                                For publicly traded companies, we compared certain submitted data, such
                                as net revenue and income tax, to data reported in their annual reports filed
                                with the Securities and Exchange Commission. In addition, we calculated
                                the average percentage of total drug acquisition and dispensing costs
                                accounted for by certain cost factors and compared our findings to a
                                similar 2003 industry study. We also compared each supplier’s reported
                                data to statements they made during our interviews. We collected data on
                                personnel costs by service (pharmacy) on one worksheet, and by type of
                                personnel (pharmacist) on another. For each supplier, we compared total
                                reported personnel costs on each of these worksheets. Using 2003
                                Medicare DME claims, we calculated each supplier’s total Medicare
                                inhalation therapy revenue and compared it to the total they reported on
                                the worksheets. Although we initially received data from 13 suppliers, we
                                excluded the data of one small, retail pharmacy supplier, as we considered
                                its data unreliable. This pharmacy did not complete one of the personnel
                                worksheets, and, therefore, we could not compare and verify its reported
                                personnel costs. This pharmacy also reported drug acquisition costs that
                                were inconsistent with other suppliers’ acquisition costs, in some cases
                                over 25 times higher. We determined that the data from the remaining
                                suppliers were reliable for our purposes.




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                   Our sample of 12 suppliers represents national, regional, and local
                   homecare and mail-order pharmacies. All suppliers have other service
                   lines in addition to inhalation therapy, such as the provision of DME,
                   infusion drugs, and oxygen. These 12 suppliers accounted for more than 42
                   percent of 2003 Medicare inhalation therapy payments. Although these
                   suppliers represent companies with a wide range of service volumes and
                   geographic locations, they are not a statistically representative sample of
                   all inhalation therapy suppliers.

                   In our analysis, we excluded certain costs. We excluded sales and
                   marketing costs, as they are not allowed by Medicare, as well as “other”
                   costs that a supplier did not specifically describe. We excluded suppliers’
                   costs for patient education on the use of the nebulizer because they are
                   covered under Medicare’s payment for the equipment.

                   To analyze suppliers’ costs of purchasing inhalation therapy drugs, we
                   divided total 2003 acquisition costs (net of rebates and discounts) for each
                   drug by the total number of billing units to obtain a per unit acquisition cost
                   for each drug for each supplier. We analyzed costs for the 4 largest
                   suppliers, each of which had payments accounting for at least 3 percent of
                   all Medicare inhalation therapy payments in 2003, and all other, or small,
                   suppliers. To identify costs associated with dispensing and delivering
                   inhalation therapy drugs, we analyzed 2003 costs associated with
                   dispensing and delivering these drugs for each of the 12 suppliers. We
                   determined the portion of inhalation therapy costs related to drugs using
                   the percent of inhalation therapy revenue accounted for by inhalation
                   therapy drug revenue. For pharmacy and medication refill and compliance
                   phone calls, we used 100 percent of inhalation therapy costs, as these costs
                   are related only to providing the drugs. For each supplier, we divided
                   inhalation therapy drug dispensing costs by the number of reported
                   inhalation therapy patient-months to determine per patient monthly drug
                   dispensing costs. We also determined per patient drug dispensing costs
                   with 90-day delivery by including only once the costs that would be
                   incurred one time per dispensing and by tripling all other costs. We
                   included pharmacy, packaging and shipping, delivery, medication refill and
                   compliance phone calls, other patient care costs, and billing and collection
                   costs only once in this analysis.

                   We calculated the difference between the 2003 Medicare payment rates and
                   the lowest and highest acquisition costs for albuterol sulfate and
                   ipratropium bromide reported by our suppliers by multiplying both the
                   payment rates and acquisition costs by the number of milligrams in the



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                   typical monthly supply of albuterol sulfate or ipratropium bromide and
                   subtracting the cost from the payment.

                   We conducted our work from May through October 2004 in accordance
                   with generally accepted government auditing standards.




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Appendix II

Comments From the Centers for Medicare &
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